Bridget Psarianos (AK Bar No. 1705025)
Suzanne Bostrom (AK Bar No. 1011068)
Brook Brisson (AK Bar No. 0905013)
TRUSTEES FOR ALASKA
121 W. Fireweed Lane, Suite 105
Anchorage, AK 99503
Phone: (907) 276-4244
Fax: (907) 276-7110
bpsarianos@trustees.org
sbostrom@trustees.org
bbrisson@trustees.org

Attorneys for Plaintiffs

                     THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 SOVEREIGN IÑUPIAT FOR A
 LIVING ARCTIC, et al.,                    Case No. 3:23-cv-00058-SLG

                             Plaintiffs,
                      v.

 BUREAU OF LAND MANAGEMENT,
 et al.,

                           Defendants,

                                   and

 CONOCOPHILLIPS ALASKA,
 INC., et al.,

             Intervenor-Defendants.


         PLAINTIFFS’ OPENING BRIEF FOR SUMMARY JUDGMENT
                   (Civil Rule 56(a), Local Civil Rule 16.3)




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                   LIST OF SHORT NAMES AND ACRONYMS

      APA                       Administrative Procedure Act

      BiOp                      Biological Opinion

      BLM                       Bureau of Land Management

      ConocoPhillips            ConocoPhillips Alaska, Inc.

      EIS                       Environmental Impact Statement

      ESA                       Endangered Species Act

      FWS                       U.S. Fish and Wildlife Service

      GHG                       Greenhouse Gas

      Greater Willow 1 and 2    GW 1 and GW 2

      ITS                       Incidental Take Statement

      MMPA                      Marine Mammal Protection Act

      NEPA                      National Environmental Policy Act

      NPRPA                     Naval Petroleum Reserves Production Act

      Reserve                   National Petroleum Reserve-Alaska

      ROD                       Record of Decision

      SEIS                      Supplemental Environmental Impact Statement

      SILA                      Sovereign Iñupiat for a Living Arctic

      Willow                    Willow Master Development Plan




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                                    INTRODUCTION

       This is the second time that the Bureau of Land Management (BLM) and U.S. Fish

and Wildlife Service (FWS) approved the Willow Master Development Plan (Willow) in

violation of the law, threatening significant harm to the resources of the National

Petroleum Reserve–Alaska (Reserve) and the people that rely on them. The Reserve is

one of the wildest expanses of public lands in the United States. Although BLM

administers an oil and gas program in the Reserve, it is required to protect the Reserve’s

wildlife and surface values, including by providing maximum protection for designated

Special Areas. Willow, proposed by ConocoPhillips Alaska, Inc. (ConocoPhillips), would

be an extensive new oil and gas complex in an undeveloped area between and adjacent to

the community of Nuiqsut and the Teshekpuk Lake Special Area (TLSA). In August

2021, this Court vacated the Defendants’ first approvals for Willow due to critical flaws

in the agencies’ analyses. 1 BLM then prepared a supplemental environmental impact

statement (SEIS) and released a new record of decision (ROD) in March 2023.

       Plaintiffs Sovereign Iñupiat for a Living Arctic and partner groups (collectively,

SILA) promptly filed this lawsuit because BLM and FWS again unlawfully approved

Willow. Some of the legal issues are similar to the first approvals; some are new legal

failures by the agencies. BLM again approved Willow without considering a reasonable

range of alternatives consistent with the agency’s obligations under the National


       1
        Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt. (SILA), 555 F.
Supp. 3d 739, 804–05 (D. Alaska 2021).

Sovereign Iñupiat for a Living Arctic v. Bureau of Land Management
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Environmental Policy Act (NEPA) and its mandate to protect surface resources under the

Naval Petroleum Reserves Production Act (NPRPA). BLM also failed to consider

alternatives that would reduce impacts to subsistence users as required by Section 810 of

the Alaska National Interest Lands Conservation Act (ANILCA). BLM further failed to

adequately assess all the effects of Willow’s significant greenhouse gas (GHG)

emissions. Finally, FWS, the agency responsible for ensuring that Willow would not

jeopardize polar bears, issued a new Biological Opinion (BiOp) that failed to comply

with the Endangered Species Act (ESA) because it failed to consider Willow’s climate

impacts to polar bears and its incidental take statement is legally unsupported and in

error. Accordingly, this Court should grant SILA’s motion for summary judgment, vacate

BLM’s ROD and related authorizations, and vacate FWS’s BiOp.

                               FACTUAL BACKGROUND

       Stretching across the Western Arctic, the Reserve provides important habitat for

wildlife, including threatened polar bears and migratory birds. It is a mosaic of tundra

wetlands, characterized by continuous permafrost and numerous lakes, ponds, slow-

moving streams, and wide rivers. 2 Subsistence is a critical part of life for communities in

the region, 3 and the Reserve is home to the Western Arctic and Teshekpuk Lake Caribou

Herds, which are key subsistence resources. The Ublutuoch River and Fish Creek, two


       2
          AR820838–39. Citations to 2021_AR refer to the BLM administrative record
filed in 2021 in SILA, 555 F. Supp. 3d 739; citations to AR or FWS_AR refer to the
administrative record filed in this case at ECF Nos. 89-1 to 89-5 and 98-1 to 98-14.
        3
          AR821022.

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significant coastal rivers important for subsistence use, would be impacted by Willow. 4

Like the rest of the Arctic, the Reserve is warming at a rapid rate and experiencing

significant impacts from climate change. 5

       The Reserve also provides habitat for polar bears, which are protected by the

Marine Mammal Protection Act and listed as a threatened species under the ESA. 6 The

Southern Beaufort Sea population, in the vicinity of Willow, is rapidly declining. The

species is “likely to become in danger of extinction throughout all of its range due to

declining sea ice habitat.” 7 The Willow project area contains designated critical habitat,

characteristic terrestrial denning habitat, and locations where polar bears have historically

denned. 8

       In its management of the Reserve, BLM is required to provide maximum

protection for the Reserve’s Special Areas — including the TLSA and Colville River

Special Area (CRSA) — which were designated because of their important resource




       4
          AR821056–57 (explaining subsistence-access boat ramps would be constructed
on these waterbodies).
        5
          See, e.g., AR820838.
        6
          Endangered and Threatened Wildlife and Plants; Determination of Threatened
Status for the Polar Bear (Ursus maritimus) Throughout Its Range, 73 Fed. Reg. 28,212
(May 15, 2008); Endangered and Threatened Wildlife and Plants; Designation of Critical
Habitat for the Polar Bear (Ursus maritimus) in the United States, 75 Fed. Reg. 76,086,
76,088–91 (Dec. 7, 2010).
        7
          73 Fed. Reg. at 28,293.
        8
          AR513622 (map of designated polar bear critical habitat overlaid with Willow
infrastructure).

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values. 9 When permitting oil and gas activities, BLM is required to condition and restrict

such activities as needed to mitigate adverse effects on the Reserve’s resources. 10

       ConocoPhillips’ Willow project in the Reserve would extend the existing oil

infrastructure surrounding the community of Nuiqsut further west. As proposed, Willow

would include an extensive oil production facility, including a spiderweb of gravel roads

connecting to ConocoPhillips’ Alpine field, a central processing facility, up to five drill

pads, an airstrip, 300+ miles of pipelines, an ice bridge over the Colville River for

module transport, and bridges over important subsistence waterways. 11 It also includes

two gravel mine sites adjacent to the Ublutuoch River. 12 All action alternatives

considered in the SEIS would require waivers of previously established river setbacks

intended to protect subsistence, 13 and would place at least one drilling pad and

infrastructure in the Reserve’s designated Special Areas. 14

       In August 2021, this Court vacated BLM’s and FWS’s first approvals due to

serious deficiencies in the agencies’ analyses under NEPA and the ESA. 15 Relevant here,

the Court held BLM acted unlawfully by failing to consider the NPRPA’s directive that

BLM provide “maximum protection” for surface values within the TLSA, and by limiting


       9
        National Petroleum Reserve in Alaska Designation of Special Areas, 42 Fed.
Reg. 28,723 (June 3, 1977); see 42 U.S.C. § 6504(a).
      10
         42 U.S.C. § 6506a(b).
      11
         AR820748–49, AR820855.
      12
         AR820741.
      13
         AR821037.
      14
         AR820745.
      15
         SILA, 555 F. Supp. 3d at 804–05.

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alternatives based on the erroneous belief that ConocoPhillips had the right to extract all

oil and gas from its leases. 16

       Shortly thereafter, BLM began preparing an SEIS. BLM released a draft SEIS in

July 2022, which considered only one new alternative to its prior analysis — Alternative

E. 17 Alternative E included four drill sites instead of five; it eliminated the drill site at

BT4 within the TLSA and deferred approval of BT5. 18 Alternative E otherwise largely

included the same infrastructure, mitigation, and design features as the other action

alternatives, including placement of a drill site, pipelines, and gravel road within the

TLSA. 19

       In comments on the draft SEIS, SILA questioned BLM’s failure to consider a

reasonable range of alternatives and its failure to properly address the legal issues

identified by this Court. 20 SILA suggested additional alternatives consistent with the

project purpose, such as eliminating infrastructure in Special Areas and setbacks,

eliminating additional pads, or further limiting GHG emissions. 21 They also questioned

the agency’s failure to take a hard look at Willow’s impacts to a range of resources,




       16
          Id. at 770.
       17
          AR814551.
       18
          AR814553.
       19
          Id.
       20
          AR704800–20.
       21
          AR704837–43 (comments suggesting alternatives).

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including subsistence and climate, and to consider measures to mitigate adverse effects to

the Reserve’s subsistence values, among others. 22

       In early 2023, BLM released its final SEIS. Like the draft, the final SEIS still

failed to analyze alternatives that meaningfully reduced impacts to Special Areas,

involved less infrastructure, or limited GHG emissions. The final SEIS also failed to

consider and analyze additional protections for subsistence resources and uses, despite

recognizing that there would be significant impacts to subsistence. The final SEIS

presented the additive carbon dioxide equivalent (CO2e) emissions estimated to result

from Willow over its roughly 30-year duration. BLM found that under Alternative E,

there would be a net increase of up to approximately 70 million metric tons (MMT) of

CO2e over the No Action Alternative (i.e., the additive GHG from the project accounting

for substitution of oil from other sources). 23 BLM further explained that the annual

average GHG emissions from Willow together with direct emissions from reasonably

foreseeable future actions would total approximately 25.85 MMT of CO2e. 24 BLM,

however, failed to fully calculate and consider the emissions from two reasonably

foreseeable future actions despite having the information to do so.



       22
           AR705042–48, AR705053–61.
       23
           AR820776.
        24
           AR821126 (explaining this number “compris[es] approximately 9.6 MMT of
Willow direct and gross indirect emissions, approximately 2.1 MMT due to the change in
downstream foreign oil consumption emissions, approximately 48,500 MT due to drilling
activity from [Greater Willow 1 (GW-1) and Greater Willow 2 (GW-2)], and
approximately 14.1 MMT of other North Slope emissions”).

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       BLM finalized its ROD a month later, adopting Alternative E with additional

modifications. 25 BLM approved drill sites BT1, BT2, and BT3 as discussed in the final

SEIS, but stated it was disapproving rather than deferring BT5. 26

       Following consultation under the ESA, FWS issued a BiOp that purported to

analyze Willow’s impacts on polar bears and concluded that the project is not likely to

jeopardize the continued existence of polar bears or adversely modify their critical

habitat. 27 FWS summarized Willow’s potential effects on polar bears that were

considered in the BiOp, which included disturbance, human-bear interactions, spills, and

effects to prey species. 28 FWS did not consider the effects of Willow’s GHG emissions

on polar bears in the BiOp. FWS ultimately determined that Willow was not likely to

result in any incidental take of polar bears under the ESA. 29

                                STANDARD OF REVIEW

       Under the Administrative Procedure Act (APA), courts “hold unlawful and set

aside agency action, findings, and conclusions” if they are “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law,” or if adopted “without

observance of procedure required by law.” 30 Agency action violates this standard when

the agency “relie[s] on factors which Congress has not intended it to consider, entirely


       25
          AR824900.
       26
          AR824900–01.
       27
          FWS_AR032537–39.
       28
          FWS_AR032529.
       29
          FWS_AR032540.
       30
          5 U.S.C. § 706(2)(A), (D).

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fail[s] to consider an important aspect of the problem, offer[s] an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it

could not be ascribed to a difference in view or the product of agency expertise.” 31

Although an agency’s rational conclusions are entitled to deference, the Court must

engage in a searching and careful review to ensure that the decision has a firm basis in

the record. 32

                                PLAINTIFFS’ INTERESTS

       SILA has standing to bring this action because they and their members will suffer

injuries in fact, those injuries are traceable to defendants’ actions, and are redressable by

a favorable decision of this Court. 33 Each plaintiff’s mission is to protect public lands and

wildlife, including in the Reserve. 34 Their members use and enjoy the Reserve, and live

in the region and rely on the Reserve and the area that will be impacted by Willow for




       31
          Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.
(Motor Vehicles), 463 U.S. 29, 43 (1983).
       32
          Nw. Coal. for Atls. to Pesticides v. U.S. EPA, 544 F.3d 1043, 1052 n.7 (9th Cir.
2008).
       33
          Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S. 167, 180–81
(2000); see also Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 343–45
(1977) (associational standing test).
       34
          Benjamin Greuel Decl. ¶¶ 8–13; Daniel Ritzman Decl. ¶¶ 6–11, 13–14, 19–23;
Elisabeth Balster Dabney Decl. ¶¶ 4, 6–12; Kristen Miller Decl. ¶¶ 5–10, 19; Ellen
Montgomery Decl. ¶¶ 3–4; Robert Thompson Decl. ¶ 5; Sam Kunaknana Decl. ¶¶ 5–6;
Siqiñiq Maupin Decl. ¶¶ 7–10.

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their way of life. 35 These members are injured by the agencies’ approval of Willow in

violation of the law. 36 A favorable decision from the Court would redress these injuries.

                                      ARGUMENT

       BLM violated NEPA, the NPRPA, and ANILCA in its review and approval of

Willow by failing to consider reasonable alternatives to ConocoPhillips’ proposal, and

specifically alternatives that reduced infrastructure within Special Areas and impacts to

surface resources and subsistence users. BLM also violated NEPA because it failed to

take a hard look at all of Willow’s climate effects. FWS violated the ESA because it

failed to consider Willow’s climate impacts to polar bears and its incidental take

statement is unsupported and in error. In turn, BLM’s reliance on FWS’s arbitrary BiOp

violated the ESA. Because of these legal violations, this Court should vacate the

agencies’ approvals.

 I. BLM VIOLATED NEPA AND THE NPRPA BY FAILING TO CONSIDER A
    REASONABLE RANGE OF ALTERNATIVES AND ARBITRARILY LIMITING ITS
    AUTHORITY.

       BLM violated NEPA’s mandate to study and disclose a reasonable range of

alternatives based on a misinterpretation of its authority under the NPRPA. 37 Although


       35
          Greuel Decl. ¶¶ 8–9, 22–23, 27–28, 31; Chad Otward Brown Decl. ¶¶ 8–9, 12–
19; Ritzman Decl. ¶¶ 24–33; Dabney Decl. ¶¶ 21–22; Miller Decl. ¶¶ 20–21; Thompson
Decl. ¶¶ 2–4; Kunaknana Decl. ¶¶ 2, 7–12, 25; Maupin Decl. ¶¶ 13, 18.
       36
          Greuel Decl. ¶¶ 22–23, 31, 34–35, 38; Brown Decl. ¶¶ 20–23; Ritzman Decl. ¶¶
34–41, 43–45; Dabney Decl. ¶¶ 20–24; Miller Decl. ¶¶ 22–25, 27–28, 30–32;
Montgomery Decl. ¶¶ 19–23; Thompson Decl. ¶¶ 7–10, 16; Kunaknana Decl. ¶¶ 14, 16–
17, 26–31, 33–35; Maupin Decl. ¶¶ 18, 20–24, 26.
       37
          42 U.S.C. § 4332(2)(C)(iii); 40 C.F.R. § 1508.1(z).

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BLM purported to evaluate a new reasonable range of alternatives in the SEIS to comply

with this Court’s order, the agency committed the same fundamental error as before:

failing to consider more protective alternatives based on a critical, mistaken assumption

about the scope of ConocoPhillips’ lease rights and BLM’s statutory obligations. 38 In

particular, BLM failed to evaluate alternatives that would meaningfully limit

ConocoPhillips’ activities — and, in turn, Willow’s impacts on Special Areas and surface

resources — because it concluded it could not strand any economically viable quantity of

recoverable oil. 39

       The analysis of alternatives is the “heart” of an EIS. 40 “An agency must look at

every reasonable alternative, with the range dictated by the nature and scope of the

proposed action, and sufficient to permit a reasoned choice.” 41 “The existence of a viable

but unexamined alternative renders an [EIS] inadequate.” 42

       The NPRPA mandates that BLM “shall include or provide for such conditions,

restrictions, and prohibitions” on activities within the Reserve as it determines necessary

to protect surface resources 43 and requires “maximum protection” of surface values in


       38
          SILA, 555 F. Supp. 3d at 770.
       39
          AR821709–10, AR821740.
       40
          40 C.F.R. § 1502.14.
       41
          Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024, 1038 (9th Cir. 2008)
(quoting Alaska Wilderness Recreation & Tourism Ass’n v. Morrison (Alaska
Wilderness), 67 F.3d 723, 729 (9th Cir. 1995)) (internal quotation marks omitted).
       42
          Westlands Water Dist. v. U.S. Dep’t of the Interior, 376 F.3d 853, 868 (9th Cir.
2004) (quoting Morongo Band of Mission Indians v. FAA, 161 F.3d 569, 575 (9th Cir.
1998)).
       43
          42 U.S.C. § 6506a(b).

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Special Areas. 44 BLM has considerable discretion to suspend all operations on existing

leases or units and deny development applications, 45 and may do so “in the interest of

conservation of natural resources” or to mitigate “reasonably foreseeable and

significantly adverse effects on surface resources.” 46

       BLM once again failed to fulfill its mandates and act in accordance with its broad

directive to protect the Reserve’s surface resources when evaluating alternatives. This

Court previously held that BLM violated NEPA by limiting its alternatives analysis based

on the view that ConocoPhillips has the right to extract all possible oil and gas on its

leases. 47 Despite that, BLM largely retained the prior EIS’s alternatives and faulty

alternatives screening criteria, 48 adding only one new alternative (Alternative E) and one

new screening criterion.

       Although BLM’s new screening criterion purported to address this Court’s

decision, it missed the mark. This criterion stated that ConocoPhillips does not have a

right to extract “all possible” oil under its leases and that BLM would consider

alternatives that “would reduce infrastructure and impacts relative to [ConocoPhillips’]

initial proposal,” particularly within the TLSA. 49 However, when implementing this



       44
          Id. § 6504(a).
       45
          Id. § 6506a(k)(2).
       46
          43 C.F.R. § 3135.2(a)(1), (3).
       47
          SILA, 555 F. Supp. 3d at 770.
       48
          AR821948 (“All screening criteria from the previous Willow [] EIS were
retained[.]”).
       49
          AR821948.

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criterion on remand, BLM once again erroneously limited its authority and adopted

functionally the same standard. In applying this criterion, the agency disregarded

alternatives it deemed inconsistent with ConocoPhillips’ lease rights or that failed to

allow ConocoPhillips to “fully develop” the Willow reservoir. 50

       Citing 43 C.F.R. § 3137.71(b)(1), BLM defined “fully develop” to mean it could

not consider an alternative that would strand an economically viable quantity of oil —

which the agency arbitrarily said was a quantity that warrants an additional drilling pad. 51

In other words, BLM limited its consideration of alternatives to only those that would

still allow ConocoPhillips to fully develop its leases. 52 BLM did not explain how it

generated this definition or why this regulatory provision is applicable. In fact, 43 C.F.R.

§ 3137.71 imposes requirements on lessees — not BLM — and governs their contractual

obligations regarding continued development planning within oil and gas units. 53 Nothing

in this provision confers a development guarantee to lessees or limits BLM’s authority to

restrict or condition activities to protect the Reserve’s surface resources. BLM’s

assumption that it cannot limit ConocoPhillips’ access to economically viable quantities



       50
           AR821709.
       51
           AR821709–10, AR821740; see also AR501470 (meeting notes containing
Environmental Protection Agency’s inquiry regarding how BLM defined “economically
viable,” and response that “BLM concluded that if [ConocoPhillips] was proposing to
develop a road and pad then it was economically viable to develop”).
        52
           AR821958.
        53
           43 C.F.R. § 3137.71(b)(1) (“If you have drilled a well that meets the
productivity criteria, your plan must describe the activities to fully develop the oil and
gas field.”).

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of oil disregards the plain language in the NPRPA and its implementing regulations and

is contrary to this Court’s previous decision. 54

       The draft SEIS contained numerous statements espousing BLM’s unlawful view

of its authority to restrict development. In describing the no action alternative, the agency

stated, “BLM does not have the authority to select this alternative because

[ConocoPhillips’] leases are valid and provide the right to develop the oil and gas

resources therein.” 55 BLM stated that it could not delay permitting Willow because

“BLM is required by the NPRPA to administer an ‘expeditious’ program of oil and gas

leasing” and may not deny development. 56 The final SEIS did not clarify BLM’s position

in responses to comments questioning BLM’s limited view of its authority, nor did it

consider any additional or suggested alternatives. 57 Instead, BLM affirmed that it

screened alternatives based on the assumption that it must not strand economically viable

quantities of recoverable oil. 58




       54
          Supra nn.43–45; SILA, 555 F. Supp. 3d at 769–70. But see AR821958
(explaining pad was required in the TLSA because “there is an economically viable
quantity of recoverable oil in this area based on [BLM’s] review of the available geologic
data and because there is enough resource accessible from BT4 that [ConocoPhillips] has
proposed constructing a gravel road and drill pad to access it”).
       55
          AR816462.
       56
          AR815460.
       57
          AR821737, AR821739 (comment response stating “[t]he Supplemental EIS
does not state that BLM’s legal authority to condition or reject the Willow Project is
constrained, or that BLM cannot select Alternative A (No Action)”).
       58
          AR821958, AR820701.

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       The addition of Alternative E in the SEIS and BLM’s adoption of it as modified

does not save BLM’s faulty analysis. All action alternatives still included infrastructure

in the TLSA and CRSA and presented only small variations on ConocoPhillips’ proposed

project. 59 BLM acknowledged that an alternative rejecting infrastructure, including a drill

site, in the TLSA would “theoretically … provide maximum protection to important

surface resources in the TLSA,” but rejected evaluating such an alternative because “it

would not meet the Project’s purpose and need and would strand an economically viable

quantity of recoverable oil.” 60 BLM offered the same justifications for its refusal to

evaluate alternatives that would eliminate both the originally proposed BT4 and BT5 drill

sites or that would place the BT2 site outside of the protective Fish Creek setback. 61

       The ROD’s elimination of BT4 and disapproval of BT5 do not alter the fact that

BLM limited its analysis and decision based on the faulty premise that it must allow

ConocoPhillips to “fully develop” the Willow reservoir. Indeed, Alternative E relocated

the BT2 pad to allow recovery of the majority of the oil that would have been captured by


       59
          AR820745; see also AR820732 (“Alternative E evaluates the full development
of the Willow reservoir with up to four drill site pads[.]”). Muckleshoot Indian Tribe v.
United States Forest Serv., 177 F.3d 800, 813 (9th Cir. 1999) (rejecting substantially
similar range of alternatives where agency rejected proposals that were “more consistent
with its basic policy objectives than the alternatives that were the subject of final
consideration.”).
       60
          AR821965.
       61
          AR821965–67; see also AR501204–05 (chart deeming these alternatives
“technologically and logistically feasible” and consistent with the District Court’s
decision, but contrary to ConocoPhillips’ lease rights and full field development);
AR505821 (explaining moving BT2 pad out of Fish Creek setback “does not meet full
development requirements”).

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BT4. 62 And while BLM claimed it reduced impacts to surface resources and subsistence

uses by disapproving BT5, 63 the ROD allows for 94% of the oil production from

Alternative E identified in the final SEIS. 64 BLM explained that that Alternative E

evaluated the “full development potential of the Willow Reservoir.” 65 As such, the

decision is substantially similar to BLM’s legally flawed 2020 approval, which likewise

did not authorize BT4 and BT5. 66

       The NPRPA requires BLM to condition, restrict, or prohibit activity to protect

surface resources and “assure the maximum protection” of surface values within Special

Areas. 67 BLM did not justify its conclusion that precluding infrastructure in the TLSA is

inconsistent with the NPRPA’s requirements. 68 And the agency failed to explain how

evaluating any project alternative that would strand economically recoverable oil is

inconsistent with its mandate to mitigate adverse effects on surface resources. 69

ConocoPhillips’ leases do not, and legally could not, override BLM’s statutory




       62
          AR820732, AR820777 (final SEIS noting “under Alternative E, the elimination
of BT4 results in 15.4 million barrels (2.45%) less production relative to Alternative B”).
       63
          AR824898.
       64
          AR824901, AR509220 (chart demonstrating cumulative production under
Alternative E (613.45 units) would be similar to Alternative B (628.87 units); see also
AR505892 (noting total GHG emissions “[m]ay not be materially different between
action alternatives”).
       65
          AR820701, AR821958.
       66
          SILA, 555 F. Supp. 3d at 753.
       67
          42 U.S.C. § 6504(a).
       68
          Id.
       69
          Id. § 6506a(b).

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obligations. 70 BLM’s flawed screening criteria severely curtailed the agency’s

consideration of reasonable alternatives that address Willow’s significant impacts to

climate, wildlife, subsistence, and other natural values. BLM’s framework for

considering alternatives was again “inconsistent with its own statutory responsibility to

mitigate adverse effects on the surface resources.” 71

       Finally, BLM failed to explain its rejection of alternatives as inconsistent with the

project’s purpose and need. The purpose and need is “to construct the infrastructure

necessary to allow the production and transportation to market of federal oil and gas

resources in the Willow reservoir … while providing maximum protection to significant

surface resources within the [Reserve].” 72 As noted above, SILA and others suggested

alternatives consistent with the project purpose and BLM’s statutory obligations to

protect Special Areas. 73 But BLM never explained, and it is unclear on its face, why

alternatives that would reduce infrastructure or locate it outside of sensitive areas while

otherwise allowing production would be inconsistent with this purpose or contrary to

BLM’s statutory obligations. 74


       70
          ConocoPhillips’ leases reflect that the rights granted are subject to applicable
laws, which include the suspension authority in the NPRPA. See, e.g., 2021_
AR_400127.
       71
          SILA, 555 F. Supp. 3d at 769.
       72
          AR820723–24.
       73
          Supra n.21. These were not amorphous middle-ground alternatives, but specific
alternative components consistent with the purpose and need.
       74
          Nat’l Ass’n of Home Builders v. Norton, 340 F.3d 835, 841 (9th Cir. 2003)
(“[R]eview of an agency decision is based on the administrative record and the basis for
the agency’s decision must come from the record.”).

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       In sum, BLM violated NEPA and the NPRPA by failing to consider a reasonable

range of alternatives due to its misinterpretation of its authority and obligations under the

NPRPA.

II. BLM VIOLATED ANILCA SECTION 810 BY FAILING TO CONSIDER ALTERNATIVES
    THAT REDUCE IMPACTS TO SUBSISTENCE USES.

       BLM failed to consider alternatives that would reduce impacts to subsistence as

required by ANILCA Section 810. ANILCA requires consideration of alternatives in a

manner similar to, but also distinct from, NEPA’s requirements. 75 Section 810 requires

agencies evaluate “other alternatives which would reduce or eliminate the use,

occupancy, or disposition of public lands needed for subsistence purposes,” in addition to

evaluating the effects of a project and the availability of other lands. 76 If the agency

determines at this first stage of analysis (called a Tier-1 evaluation) that the proposed

action significantly restricts subsistence uses, the agency is required to make further

findings (called a Tier-2 evaluation). 77 At the Tier-2 stage, the agency must determine

whether such a restriction is necessary and consistent with sound public lands

management; that the activity will involve the minimal amount of public lands necessary

to accomplish its purposes; and require reasonable steps to minimize adverse impacts on




       75
         See, e.g., Tenakee Springs v. Clough, 915 F.2d 1308, 1312–13 (9th Cir. 1990);
Alaska Wilderness, 67 F.3d at 731.
      76
         16 U.S.C. § 3120(a).
      77
         Id.

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subsistence. 78 These findings must be included in an EIS where one is required. 79 A core

purpose of Section 810 is to ensure not only that impacts to subsistence are adequately

considered, but also that adverse effects are minimized. 80 Indeed, Section 810 imposes

substantive limitations on an agency’s discretion to consider and select alternatives, and

“an agency proceeds at its peril where it fails to include within the set of alternatives to

be considered one which can be implemented in conformity with ANILCA’s substantive

mandate.” 81

       In the draft SEIS, BLM concluded that all action alternatives would cause

significant restrictions to subsistence. 82 In the final SEIS, BLM claimed that it considered

ways to reduce impacts to subsistence users under Alternative E, but also acknowledged

that none of the action alternatives meaningfully reduced the use and occupancy of lands

needed for subsistence purposes. 83 Although Alternative E purportedly reduced

infrastructure in the TLSA to lessen impacts to caribou hunting, BLM admitted the

benefits to subsistence users from doing that would be “minimal.” 84 BLM recognized that

“the reduction in infrastructure in the TLSA under Alternative E will not result in a


       78
         Id. § 3120(a)(3).
       79
         Id. § 3120(b); Tenakee Springs, 915 F.2d at 1312–13.
      80
         Se. Alaska Conservation Council v. U.S. Forest Serv., 443 F. Supp. 3d 995,
1017 (D. Alaska 2020).
      81
         Tenakee Springs, 750 F. Supp. 1406, 1421 (D. Alaska 1990), rev’d on other
grounds, 915 F.2d 1308 (9th Cir. 1990).
      82
         AR816488, AR816491, AR816494, AR816496.
      83
         AR824339.
      84
         AR824339 (explaining Alternative E would impact subsistence use areas in the
TLSA for 67% of Nuiqsut harvesters, versus 73% under Alternative B).

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substantial reduction in direct impacts on Nuiqsut subsistence harvesters compared to the

other action alternatives.” 85 BLM provided only a conclusory sentence in the final SEIS

that deferring BT5 would reduce the intensity and severity of impacts because all

construction activity would not occur simultaneously. 86 But this statement misses the

point: it is not just that construction occurring simultaneously will cause severe impacts

to subsistence — it is that the project infrastructure as a whole will have significant

ongoing impacts, and those impacts were not meaningfully reduced by the changes in

Alternative E. BLM’s statements in the ROD that there will be fewer impacts without

BT5 are likewise questionable given the agency’s findings that any reductions in impacts

would be limited. 87

       BLM did not adequately consider any alternatives which would “reduce or

eliminate the use, occupancy, or disposition of public lands needed for subsistence

purposes.” 88 Indeed, Alternative E only “slightly” reduced impacts on subsistence

compared to ConocoPhillips’ proposed action, and still impacted a significant number of

subsistence harvesters. 89 In its Section 810 analysis, BLM explained that it eliminated a

number of alternatives from analysis “due to economic, or technological feasibility or



       85
         AR821062.
       86
         AR824339.
      87
         AR824897–901.
      88
         16 U.S.C. § 3120(a).
      89
         AR824340 (finding only “a slightly smaller percentage of Nuiqsut harvesters
(88%) would potentially be affected under Alternative E compared to Alternative B
(91%),” with that slight difference relating to goose hunting).

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practicability, or because they did not meet the purpose of the proposed action to produce

the oil discovered on [ConocoPhillips’] leases.” 90 As a result, BLM improperly limited

the scope of its alternatives by relying on the erroneous assumption that it could not

strand economically viable quantities of recoverable oil. 91 BLM also failed to reasonably

explain why reducing infrastructure on lands relied upon by subsistence users was

inconsistent with the purpose of the proposed action (i.e., ConocoPhillips’ ability to

produce oil on its leases).

       In Tenakee Springs v. Clough, the Ninth Circuit considered and rejected

arguments that an agency’s contractual obligation with industry should preempt laws

designed to protect subsistence, including Section 810. 92 The Court found that, where an

agency improperly confines the scope of its authority under a statute or contract and

thereby limits its consideration of alternatives, it acts contrary to the substantive purpose

of Section 810 to minimize impacts to subsistence. 93 Similar to Tenakee Springs, BLM’s

interpretation of ConocoPhillips’ lease rights and failure to consider alternatives to

reduce the use and occupancy of public lands needed for subsistence is contrary to

Section 810. 94


       90
          AR824332.
       91
          See, e.g., AR821958; AR820701; AR501204–5; see also supra Argument Part I.
       92
          915 F.2d at 1312.
       93
          Id.
       94
          16 U.S.C. § 3120(a). The NPRPA’s general requirement to conduct a leasing
program does not lessen or override BLM’s duties under Section 810; BLM was still
obligated to consider alternatives at this stage that would reduce or eliminate the use and


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       As a result of its limited range of alternatives and misinterpretation of its own

statutory authority, BLM also failed to meet its Tier-2 obligations. 95 BLM’s Tier-2

findings stated that its decision involved the minimum amount of public lands necessary

and included reasonable steps to minimize adverse impacts to subsistence. 96 However,

those assertions are unsubstantiated and not entitled to deference because BLM operated

under the assumption it could not consider options that would limit access to

economically recoverable oil. 97 Had BLM not misinterpreted its own legal authority and

mandates and limited the scope of its analysis, it could have considered other alternatives

and measures to minimize the impacts to subsistence. BLM’s Tier-2 obligations are

closely related to, but distinct from, its obligation to consider a reasonable range of

alternatives, and BLM failed to comply with both. 98 Moreover, BLM failed to include its

Tier-2 findings in the final SEIS, contrary to ANILCA. 99 Inclusion of the findings in the

ROD was not sufficient because it deprived the public of the opportunity to evaluate the

findings prior to a final decision.

       In sum, BLM failed to comply with ANILCA Section 810 by failing to consider

alternatives that would reduce impacts to subsistence. This also rendered its findings that


occupancy of lands needed for subsistence. See Kunaknana v. Clark, 742 F.2d 1145,
1150–51 (9th Cir. 1984); 42 U.S.C. § 6506a(a)–(b).
      95
         16 U.S.C. § 3120(a)(3)(B); AR824998–5001.
      96
         AR824998–5001.
      97
         See, e.g., AR821958.
      98
         Tenakee Springs, 915 F.2d at 1312–13.
      99
         AR824371 (noting the final SEIS did not contain Tier-2 findings); 16 U.S.C. §
3120(b).

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its approval involved the minimum amount of public land necessary for the project and

included measures to minimize subsistence impacts arbitrary and capricious.

III. BLM VIOLATED NEPA BY FAILING TO ADEQUATELY ASSESS WILLOW’S
     REASONABLY FORESEEABLE GHG EMISSIONS AND CLIMATE IMPACTS.

       NEPA requires agencies to consider the direct, indirect, and cumulative impacts of

climate change as part of their environmental analyses. 100 Indirect impacts are those that

are “caused by the action and are later in time or farther removed in distance but are still

reasonably foreseeable.” 101 Such impacts include “growth inducing effects or other

effects related to induced changes in the pattern of land use.” 102 Cumulative impacts are

those in addition to “other past, present, and reasonably foreseeable future actions.” 103

Cumulative impacts analyses are “insufficient when they discuss[] only the direct effects

of the project at issue on a small area and merely contemplate[] other projects but [have]

no quantified assessment of their combined impacts.” 104 GW-1 and GW-2 qualify as both

indirect and cumulative impacts since they are growth-inducing effects of the Willow

project and reasonably foreseeable future actions. As such, BLM was required to do a



       100
           Ctr. for Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538. F.3d
1172, 1217 (9th Cir. 2008); 40 C.F.R. §§ 1502.16, 1508.7, 1508.8.
       101
           40 C.F.R. § 1508.1(g).
       102
           Id.
       103
           40 C.F.R. § 1508.7; Bark v. U.S. Forest Serv., 958 F.3d 865, 872–73 (9th Cir.
2020); see also 350 Montana v. Haaland, 50 F.4th 1254, 1272 (9th Cir. 2022); Diné
Citizens Against Ruining Our Env’t v. Haaland (Diné Citizens), 59 F.4th 1016, 1039–44
(10th Cir. 2023) (holding BLM violated NEPA by failing to take a hard look at the direct,
indirect, and cumulative impacts of GHG emissions).
       104
           Bark, 958 F.3d at 872 (citation omitted).

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quantified analysis of the reasonably foreseeable impacts of the Greater Willow

development’s GHG emissions. 105 It failed to do so.

       BLM recognized the Willow development was likely to expand in the future and

to enable further development in the region. 106 BLM specifically identified two additional

pads — GW-1 and GW-2 — as reasonably foreseeable future actions that would likely

rely on and expand Willow’s infrastructure. 107 Despite that, BLM failed to look at all

foreseeable climate impacts from GW-1 and GW-2 as part of its analysis of Willow.

BLM recognized GW-1 and GW-2 were likely to produce up to 75 million barrels of oil

and gas. 108 But BLM never calculated the downstream GHG emissions that burning the

oil and gas produced from GW-1 and GW-2 would generate. In other words, BLM had

the information it needed to calculate the projected downstream emissions from GW-1

and GW-2, but failed to do so and, thus, failed to consider those impacts.

       Amplifying this failure is the fact that BLM arbitrarily limited its analysis of

Greater Willow’s GHG emissions by only including a subset of those pads’ emissions in



       105
           Bark, 958 F.3d at 872; Ctr. for Biological Diversity v. Bernhardt, 982 F.3d 723,
737 (9th Cir. 2020) (indicating the agency must do a quantitative estimate of reasonably
foreseeable downstream greenhouse gas emissions); see also Columbia Riverkeeper v.
U.S. Army Corps of Eng’rs, 2020 U.S. Dist. LEXIS 219535, at *11–16 (W.D. Wash.
Nov. 23, 2020) (indicating the Corps violated NEPA by failing to consider “indirect
cumulative” GHG emissions).
       106
           AR821122 (indicating “[c]onstruction of the Willow Project may result in
additional development opportunities to the south and west of the Project area” and
identifying Greater Willow as reasonably foreseeable).
       107
           AR822689–93; AR821122.
       108
           AR821124.

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its overall analysis. BLM estimated the annual GHG emissions from GW-1 and GW-2 at

approximately 8,500 metric tons from construction, 48,500 metric tons from development

drilling, and 8,500 metric tons from routine operations. 109 But when quantifying Greater

Willow’s combined climate impacts and emissions, BLM included only the 48,500

metric tons from development drilling. The agency failed to include the emissions from

construction and routine operations at GW-1 and GW-2 without explanation — thereby

further underestimating its already inadequate GHG emissions analysis for Willow. 110

BLM’s failure to calculate and consider the reasonably foreseeable downstream

emissions from consumption of GW-1 and GW-2’s oil and to consider all emissions from

the construction, development, and operation of GW-1 and GW-2 as part of its impacts

analysis was arbitrary and capricious and contrary to NEPA. 111

IV. FWS AND BLM VIOLATED THE ESA IN MULTIPLE WAYS.

       To achieve its protective mandate, the ESA requires that federal agencies consult

with FWS to ensure their actions are not likely to jeopardize the continued existence of

species or destroy or adversely modify critical habitat. 112 “Jeopardize the continued

existence of means to engage in an action that reasonably would be expected, directly or

indirectly, to reduce appreciably the likelihood of both the survival and recovery of a


       109
           AR822690.
       110
           AR821126.
       111
           Columbia Riverkeeper, 2020 U.S. Dist. LEXIS 219535, at *11 (holding that the
Corps should have considered the reasonably foreseeable indirect and cumulative effects
of the downstream emissions from both the project and a related action).
       112
           16 U.S.C. § 1536(a)(2).

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listed species ….” 113 An agency’s BiOp, produced during formal consultation, must

discuss the effects of the action on listed species or critical habitat and provide the

consulting agency’s opinion on whether the action is likely to cause jeopardy or

adversely modify critical habitat. 114

       The ESA generally prohibits the “take” of any member of a listed species. 115

“Take” means to “harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect,

or to attempt to engage in any such conduct.” 116 The ESA provides a limited exception to

this prohibition where the “taking is incidental to, and not the purpose of, the carrying out

of an otherwise lawful activity.” 117 Where FWS concludes that the action consulted on

will cause incidental take, FWS must specify that take in an incidental take statement

(ITS) in the BiOp. 118 An ITS serves multiple protective functions, including as a check

on the agency’s finding that the authorized take will not cause jeopardy. 119 An ITS must

specify the impact of authorized take on the species, include reasonable and prudent

measures to minimize impacts, and provide terms and conditions to implement such

measures, among other requirements. 120



       113
           50 C.F.R. § 402.02 (emphasis added).
       114
           Aluminum Co. of Am. v. Bonneville Power Admin., 175 F.3d 1156, 1158–59
(9th Cir. 1999) (citing 50 C.F.R. § 402.14(h)(3)).
       115
            16 U.S.C. § 1538(a)(1)(B).
       116
           Id. § 1532(19).
       117
           Id. § 1539(a)(1)(B).
       118
           Id. § 1536(b)(4)(C)(ii)–(iv); 50 C.F.R. § 402.14(i).
       119
           Ctr. for Biological Diversity v. Salazar, 695 F.3d 893, 911 (9th Cir. 2012).
       120
           16 U.S.C. § 1536(b)(4)(C)(i)–(iv).

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       FWS violated the ESA and APA because it failed to consider Willow’s climate

change–inducing effects and made arbitrary findings regarding potential take of polar

bears. As a result, BLM’s reliance on the invalid BiOp violated its substantive ESA

obligations.

       A. FWS Violated the ESA’s Requirements to Assess Effects and Use the Best
          Available Science by Failing to Consider Willow’s Climate Impacts.

       During consultation, FWS must consider the effects of the proposed action,

including cumulative effects. 121 The effects of the action are “all consequences to listed

species or critical habitat that are caused by the proposed action” that “would not occur

but for the proposed action and [are] reasonably certain to occur.” 122 The ESA further

requires FWS to use “the best scientific and commercial data available” when

formulating a BiOp. 123 “An agency complies with the best available science standard so

long as it does not ignore available studies, even if it disagrees with or discredits

them.” 124 FWS failed to meet these mandates.

       First, FWS violated the ESA by failing to consider Willow’s GHG emissions and

associated climate impacts on polar bears, contrary to the ESA’s core mandates to



       121
           50 C.F.R. § 402.14(g)(3)–(4).
       122
           Id. § 402.02; see also id. (broadly defining agency action to include “actions
directly or indirectly causing modifications to the land, water, or air” and “effects” to
include those which “may occur later in time and … consequences occurring outside the
immediate area involved in the action”).
       123
           16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(g)(8).
       124
           San Luis & Delta–Mendota Water Authority v. Locke, 776 F.3d 971, 995 (9th
Cir. 2014).

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analyze the effects of an agency’s action on protected species and ensure against

jeopardy. 125 The BiOp is devoid of any qualitative discussion or analysis of how the

additive GHG emissions from Willow will affect polar bears and their critical habitat.

Although the BiOp recognizes that climate change is causing habitat degradation and loss

and thus negatively impacting polar bear populations, 126 it is silent as to how Willow will

exacerbate those climate effects. In particular, the BiOp fails to acknowledge or explain

how Willow’s emissions could further reduce sea ice extent or otherwise reduce the

survival and recovery of polar bears.

       It is beyond dispute that GHG emissions drive climate change, 127 and that Willow

would cause an increase in such emissions and thus exacerbate global climate change. 128

Polar bears are listed under the ESA primarily because climate change is degrading their

sea ice habitat. 129 Willow’s additive direct and indirect GHG emissions are “effects”

under the ESA because these emissions would not occur “but for” BLM’s action

approving Willow and are “reasonably certain to occur.” 130 At a minimum, Willow’s

GHG emissions “may affect” polar bears and meet the threshold requirement for being


       125
            50 C.F.R. § 402.14(g)(3)–(4).
       126
            FWS_AR032467.
        127
            AR820757–58; see also e.g., AR644514–35 (2021 study examining need to
align global fossil fuel production with climate limits).
        128
            See AR820761–62 (explaining BLM’s quantitative analysis and noting
Willow’s contribution to global climate change); see also infra n.133 (acknowledging
significance of Willow’s GHG emissions).
        129
            73 Fed. Reg. 28,212; FWS_AR032467.
        130
            50 C.F.R. § 402.02; Conner v. Burford, 848 F.2d 1441, 1453 (9th Cir. 1988)
(explaining FWS must consult on “all the possible ramifications of the agency action”).

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considered during consultation. 131 Therefore, FWS’s failure to acknowledge Willow’s

GHG emissions in the BiOp and consider whether those emissions would reasonably be

expected, directly or indirectly, to reduce the likelihood of polar bears’ recovery violates

the ESA.

       Second, by ignoring Willow’s climate-inducing effects on polar bears and their

habitat, FWS failed to consider “the best scientific and commercial data available.” 132

The best available science demonstrates that continued emissions of GHGs at current or

higher rates will jeopardize polar bears. One study demonstrated that two-thirds of the

world’s polar bears could disappear by mid-century under current emissions rates. 133

Other recent studies considering projected sea ice decline have acknowledged that

continued or increased GHG emission rates will jeopardize some polar bear populations

by 2100. 134 BLM’s final SEIS quantified the additive CO2e emissions estimated to result

from Willow over its roughly 30-year duration and acknowledged that Willow’s climate




       131
           Ctr. for Biological Diversity v. Bureau of Land Mgmt., 698 F.3d 1101, 1122–25
(9th Cir. 2012).
       132
           16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(g)(8).
       133
           AR725287–94 (2010 study describing linear relationship between sea ice and
warming climate).
       134
           See e.g., FWS_AR371710 (2015 study noting “[m]odels have also predicted
losses of polar bear sea ice habitats … during this century and indicated that two-thirds of
the world’s polar bears could disappear if greenhouse gas emissions continue as
predicted” (citations omitted)); FWS_AR036641 (2015 study concluding that polar
bears’ long-term persistence will require stabilizing projected loss of sea ice habitat by
maintaining GHG emissions at or below a stabilized emissions scenario).

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impacts would be significant. 135 And in fact, a study in the agency’s record allows FWS

to quantify the overall amount of sea ice loss that could be attributed to BLM’s approval

of Willow. 136 This information made it possible for FWS to consider the extent to which

Willow will undermine attainment of GHG mitigation and thus impair the recovery of

polar bears. 137 However, FWS failed to acknowledge Willow’s significant additive GHG

emissions or consider them in its jeopardy analysis.

       By BLM’s own calculations, Willow will result in millions of additive tons of

CO2e being emitted that otherwise would not be. Since these additional emissions will

contribute to additional sea ice loss, and polar bear survival and recovery depend on

delaying sea ice losses, FWS cannot ignore the effect of these emissions on the species

and its habitat. 138 An assessment of how much sooner a given level of sea ice loss will

occur due to Willow’s approval is an important component of assessing the impacts of

BLM’s action on polar bears and critical habitat that FWS ignored. 139 Despite the


       135
            See AR820771 (quantifying Alternative E emissions and indicating the
emissions reach the significance threshold stating, “[w]hile there are no specific NEPA
guidelines to determine the significance of a particular quantity of GHG emissions, this
climate test significance result is consistent with BLM’s level of environmental review
for the Willow MDP (i.e., development of an EIS)”).
        136
            AR751166–70 (2016 study estimating a loss of 3.0 ± 0.3 square meters of
September sea ice per metric ton of anthropogenic CO2e emissions).
        137
            Id. (“[A]ny measure taken to mitigate CO2 emissions will directly slow the
ongoing loss of Arctic summer sea ice.”).
        138
            FWS_AR032467 (BiOp acknowledging “[l]oss of sea ice habitat due to climate
change is identified as the primary threat to polar bears”).
        139
            Motor Vehicles, 463 U.S. at 43; see also Kern Cty. Farm Bureau v. Allen, 450
F.3d 1072, 1080–81 (9th Cir. 2006) (quoting Conner, 848 F.2d at 1454 (explaining “FWS
cannot ignore available biological information” when consulting under the ESA).

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evidence before the agency, FWS failed to explain how Willow’s substantial and

significant additional GHG emissions would not appreciably diminish the likelihood of

polar bear survival and recovery.

       Instead, on this important point, the record contains a single e-mail where FWS

agreed with a BLM memorandum asserting such effects need not be considered. The

memorandum concludes that current science does not provide sufficient “granularity” to

assess Willow’s climate effects on polar bears. 140 This impermissibly increases the

certainty required to consider effects in a BiOp. The ESA requires that FWS ensure that

the effects of agency actions are not “likely” to jeopardize species or adversely modify

critical habitat — which, here, includes sea ice. 141 Even if the agency was unable to

predict with detail precisely how sea ice would be altered in the project area, FWS could

not ignore those effects altogether. Uncertainty and incomplete information do not excuse

agencies from predicting the effects of actions and assessing whether such effects are

likely to reduce a species’ likelihood of recovery. 142

       The agencies acknowledged that GHG emissions collectively contribute to climate

change impacts like sea ice loss, which in turn impacts polar bears — indeed, this was the

basis for FWS listing polar bears under the ESA. 143 FWS has acknowledged that



         FWS_AR032341, FWS_AR032345.
       140

         16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.02; FWS_AR032530–31.
       141
     142
         16 U.S.C. § 1536(a)(2); Conner, 848 F.2d at 1452–54; Nat. Res. Def. Council v.
Kempthorne, 506 F. Supp. 2d 322, 367–70 (E.D. Cal. 2007).
     143
         FWS_AR032344 (BLM memorandum); 73 Fed. Reg. 28,212.

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emissions reductions are necessary to ensure the survival of the species. 144 The ESA does

not require sea ice effects be evaluated at either a granular level or not at all, particularly

when it is clear qualitatively that any significant additive amount of emissions is more

likely than not inconsistent with the survival and recovery of a species that requires

urgent emissions reductions to persist. FWS’s failure to consider the impact of these

emissions was arbitrary. 145

       B. FWS’s Take Findings are Unlawful and Unsupported by the Record.

       In failing to issue an ITS for Willow, FWS applied an unlawful definition of

“harassment” and failed to evaluate all potential nonlethal harassment that would impact

polar bears over Willow’s project life.

              1) FWS applied an unlawful definition of harassment.

       In determining that FWS “does not anticipate [Willow] would result in any

incidental take of polar bears,” 146 the agency misinterpreted the definition of harassment

to require specific intent directed toward the listed animal, rather than general intent to

commit acts that create a likelihood for injury.

       Harassment is defined in FWS’s regulations as “an intentional or negligent act or

omission which creates the likelihood of injury to wildlife by annoying it to such an


       144
           FWS_AR376521–22 (FWS polar bear status review noting that, unless GHG
emissions are reduced, polar bears remain vulnerable to “range-wide loss of sea ice
habitat”).
       145
           Ctr. for Biological Diversity v. Bureau of Land Mgmt., 698 F.3d at 1124
(explaining BiOp violates APA where it fails to consider all plausible effects to species).
       146
           FWS_AR032540.

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extent as to significantly disrupt normal behavioral patterns which include, but are not

limited to, breeding, feeding, or sheltering.” 147 In its BiOp, FWS stated that incidental

harassment would not occur because “incidental disturbances resulting from this

proposed action would not occur intentionally or negligently” since ConocoPhillips’

activities “would be conducted with the intent of developing and producing oil and gas

and without any intent to annoy, disturb, or harass polar bears.” 148 FWS acknowledged

that it had not previously defined harassment in this manner. 149 This ad hoc definition is

contrary to FWS’s implementing regulations because it ignores that harassment occurs

under the ESA without the specific intent to cause disturbance or injury of the listed

animal. The inclusion of “negligent,” “omission,” and “creates the likelihood” in FWS’s

regulatory definition indicates that the specific intent to take wildlife is not required for

an action to qualify as incidental harassment. 150 FWS’s application of its ad hoc

definition facially conflicts with its regulatory definition of the term “harassment.” 151

       Moreover, it is contrary to the ESA. The ESA provides a limited exception to its

take prohibition where the “taking is incidental to, and not the purpose of, the carrying



       147
            50 C.F.R. § 17.3.
       148
            FWS_AR032541.
        149
            FWS_AR032542. This definition is also inconsistent with FWS’s
acknowledgment that intentional and incidental take are distinct. Id.
        150
            50 C.F.R. § 17.3; cf. FWS_AR032542 (FWS’s conclusory statement that its ad
hoc definition would “give proper effect to all elements of the definition of ‘harass’”).
        151
            Turtle Island Restoration Network v. U.S. Dep’t of Commerce, 878 F.3d 725,
734 (“Deference to the FWS’s interpretation is not warranted because the plain language
of this regulation is not reasonably susceptible to the FWS’s new interpretation.”).

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out of an otherwise lawful activity.” 152 FWS’s ad hoc definition of harassment ignores

that the statute itself indicates incidental take occurs without the specific intent to cause

take — i.e., when the applicant is engaged in an otherwise lawful activity. FWS read this

out of the definition of incidental take by requiring ConocoPhillips have specific intent to

cause harassment. FWS’s interpretation, therefore, unlawfully amends the ESA to “add to

the statute something which is not there.” 153

       Congress’ inclusion of “not the purpose of” demonstrates that acts done without

specific intent directed toward a listed animal fall within the definition of incidental take.

Consistent with the statute, the ESA’s implementing regulations similarly define

“incidental take” as “takings that result from, but are not the purpose of, carrying out an

otherwise lawful activity conducted by the Federal agency or applicant.” 154 The plain

language of the statute and regulation are clear; incidental take, by definition, occurs

where the applicant lacks the specific intent to take the listed species. As the Supreme

Court explained, the ESA’s legislative history “make[s] clear that Congress intended

‘take’ to apply broadly to cover indirect as well as purposeful actions.” 155 FWS’s ad hoc



       152
           16 U.S.C. § 1539(a)(1)(B).
       153
           Save Our Valley v. Sound Transit, 335 F.3d 932, 944 (9th Cir. 2003) (quoting
Cal. Cosmetology Coalition v. Riley, 110 F.3d 1454, 1460 (9th Cir. 1997) (internal
quotation marks omitted).
       154
           50 C.F.R. § 402.02.
       155
           Babbitt v. Sweet Home Chapter of Cmtys. for a Great Or., 515 U.S. 687, 704
(1995); see also id. at 696 n.9 (explaining Congress replaced the term “willfully” with
“knowingly” in the ESA’s penalties and enforcement provision to make “criminal
violations of the act a general rather than a specific intent crime”).

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definition, which narrows the category of actions which would qualify as incidental take,

is particularly problematic given the agency is interpreting an exception to a statutory

take prohibition. 156

       FWS incorrectly relied on the Preamble to a 1981 rulemaking to assert that

harassment requires specific intent to harass wildlife. 157 That rulemaking redefined

“harm” for purposes of ESA criminal liability under Section 9; it did not purport to define

“harass” or address Section 7 of the ESA, the relevant provision for BLM’s consultation

process for Willow. To the extent this Preamble has any relevance, it concedes that

requiring “a showing of specific intent to harass or harm [] to prove a taking” is

“inconsistent with the strict liability prohibitions established by [ESA] Sections 9 and

11.” 158 The Preamble also explains “‘[t]ake’ is defined broadly” and “includes

harassment, whether intentional or not.” 159 Thus, the Preamble conflicts with FWS’s ad

hoc interpretation of harassment.

       FWS’s analysis should have focused on whether ConocoPhillips’ actions or

omissions in constructing and operating Willow could create a likelihood of injury by

disturbing polar bears to such an extent as to significantly disrupt normal behavioral

patterns — not whether ConocoPhillips intended to disturb polar bears. FWS’s




       156
           Turtle Island Restoration Network, 878 F.3d at 734–35.
       157
           FWS_AR032541.
       158
           46 Fed. Reg. at 29,492.
       159
           Id. at 29,491.

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determination that it need not consider whether ConocoPhillips’ unintentional actions

could result in incidental take was legal error.

              2) FWS failed to assess likely non-lethal harassment of polar bears.

       FWS’s presentation of its ad hoc definition of harassment as one of two

independent reasons for its finding that incidental take would not occur does not save its

faulty analysis. 160 FWS’s assertion that ConocoPhillips’ activities would not create a

likelihood of injury via non-lethal harassment is arbitrary and conflicts with the record.

       FWS acknowledged that Willow “could affect denning polar bears by obstructing

or altering movements of pregnant females as they prospect for den sites; by disturbing

females at den sites before cubs are born, which could force the female to search for an

alternate site; or by causing premature den or den site abandonment after cubs are born,

which could cause the imminent death of cubs or reduced probability of their survival

over time.” 161 However, in assessing impacts to denning bears, FWS largely limited its

discussion to its modeling assessment’s finding of Willow’s low risk of cub injury or

mortality. 162 It did not consider whether other disturbances — such as disturbing females

to the point which they must search for an alternate den site — could qualify as incidental

harassment. FWS also explained that “impacts on transient polar bears exposed to



       160
          FWS_AR032541.
       161
          FWS_AR032517.
      162
          FWS_AR032518–19; FWS_AR032580 (explaining FWS’s assessment of Level
A harassment, i.e., where there is potential for injury, focused on cubs, whereas “[a]dult
females received [non-injurious] harassment for any disturbance”).

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project-related disturbance potentially include disruption of normal activities,

displacement from foraging and resting areas, and interruption of movement patterns.” 163

Such impacts would logically create a likelihood of injury to polar bears by significantly

disrupting their normal behavioral patterns including breeding, feeding, or sheltering. 164

FWS failed to explain why such impacts do not qualify as harassment.

       In sum, FWS’s failure to prepare an ITS to account for reasonably certain non-

lethal harassment violated the ESA. 165

       C. BLM Unlawfully Relied on FWS’s Illegal BiOp.

       BLM “cannot meet its Section 7 duties by relying on a legally flawed [BiOp] or

failing to discuss information that might undercut the opinion’s conclusions.” 166 Because

FWS’s BiOp was facially flawed, as described above, BLM’s reliance upon it to

authorize Willow violated the ESA. 167

V. THE COURT SHOULD VACATE THE AGENCIES’ DECISIONS.

       Vacatur is the presumptive APA remedy. 168 The Court should apply the

presumptive remedy and vacate the ROD, final SEIS, BiOp, and permits.




       163
           FWS_AR032513.
       164
           50 C.F.R. § 17.3.
       165
           Ctr. for Biological Diversity v. Bernhardt, 982 F.3d at 750.
       166
           Id. at 751.
       167
           16 U.S.C. § 1536(a)(2), (b)(3)(A), (b)(4).
       168
           5 U.S.C. § 706(2); Fed. Power Comm’n v. Transcon. Gas Pipe Line Corp., 423
U.S. 326, 331 (1976); All. for the Wild Rockies v. U.S. Forest Serv., 907 F.3d 1105, 1121
(9th Cir. 2018).

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       The agencies and Intervenor-Defendants may argue that vacatur is not warranted.

As an equitable defense, the burden is on defendants to show that this case is one of the

“rare circumstances” where the Court should deviate from the default remedy. 169 They

cannot.

       Courts recognize an exception to the remedy of vacatur in “limited

circumstances.” 170 Courts remand agency decisions without vacating when there could be

serious environmental harm from vacating. 171 Courts also consider the seriousness of the

agency’s error and “the disruptive consequences of an interim change that may itself be

changed.” 172 In cases involving ESA violations, “courts will tip the scales in favor of the

endangered species.” 173



       169
            Humane Soc’y of the U.S. v. Locke, 626 F.3d 1040, 1053 n.7 (9th Cir. 2010);
All. for the Wild Rockies, 907 F.3d at 1121–22; W. Watersheds Project v. Zinke, 441 F.
Supp. 3d 1042, 1083 (D. Idaho 2020).
        170
            Pollinator Stewardship Council v. U.S. EPA, 806 F.3d 520, 532 (9th Cir. 2015)
(citing Cal. Cmtys. Against Toxics v. U.S. EPA, 688 F.3d 989, 992 (9th Cir. 2012)).
        171
            See, e.g., Nat. Res. Def. Council v. U.S. EPA, 38 F.4th 34, 51–52 (9th Cir.
2022) (explaining courts consider harm to the environment); Nat’l Family Farm Coal. v.
U.S. EPA, 960 F.3d 1120, 1144–45 (9th Cir. 2020) (stating courts “consider the extent to
which either vacating or leaving the decision in place would risk environmental harm);
Ctr. for Food Safety v. Vilsack, 734 F. Supp. 2d 948, 951 (N.D. Cal. 2010) (“[T]he Ninth
Circuit has only found remand without vacatur warranted by equity concerns in limited
circumstances, namely [when] serious irreparable environmental injury [will occur if the
decision is vacated].”).
        172
            Pollinator Stewardship Council, 806 F.3d at 532.
        173
            Klamath-Siskiyou Wildlands Ctr. v. Nat’l Oceanic & Atmospheric Admin., 109
F. Supp. 3d 1238, 1242 (N.D. Cal. 2015) (quoting Sierra Club v. Marsh, 816 F.2d 1376,
1383 (9th Cir. 1987)); cf. Cottonwood Envtl. Law Ctr. v U.S. Forest Serv., 789 F.3d 1075,
1090 (9th Cir. 2015) (“[C]ourts do not have discretion to balance the parties’ competing
interests in ESA cases.”).

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       Most importantly, there will be no environmental harm from vacatur here. Instead,

vacatur will protect the Willow project area from further gravel mining, construction of

roads and extensive permanent infrastructure, and eventual development and production

activities. 174 This alone weighs heavily in favor of the presumptive remedy of vacatur. 175

Regarding the seriousness of the error, the legal violations go to the core purposes of the

statutes and are consequential to the agencies’ decisions approving the project. 176 As this

Court previously found, the agencies’ violations of NEPA, the NPRPA, and the ESA are

serious errors warranting vacatur. 177 Regarding the disruptive consequences, it is unlikely

that the agency could reach the same decision following remand given that the legal

errors are substantive breaches of statutory mandates, not technical or procedural issues

with the permitting process. 178 Moreover, Interior conceded that last winter’s work

should not impact the remedy in this case and that those construction activities would not


       174
            See Pollinator Stewardship Council, 806 F.3d at 532; see also supra Plaintiffs’
Interests and cited declarations (describing harms from construction and operation).
ConocoPhillips argued that its interim reclamation activities following last winter’s
construction would abate any safety risks or environmental damage during the pendency
of this litigation, further confirming that there would be no additional environmental
harm from vacating now. ConocoPhillips Alaska, Inc.’s Opp’n to Mots. for Inj. Pending
Appeal at 24, Case No. 23-35226, ECF 18-1.
        175
            See supra n.171; cf. Idaho Farm Bureau v. Babbitt, 58 F.3d 1392, 1405–06 (9th
Cir. 1995) (declining to vacate rule where doing so would risk harm to endangered
species).
        176
            Supra Argument Parts I–IV.
        177
            See SILA, 555 F. Supp. 3d at 804–05 (vacating prior Willow permits and
BiOp).
        178
            See Klamath-Siskiyou Wildlands Ctr., 109 F. Supp. 3d at 1244 (noting courts
remand without vacatur when errors are “mere technical or procedural formalities that the
[agencies] can easily cure”).

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commit the agencies to any future outcome. 179 Additionally, arguments regarding

speculative earnings and tax revenues do not overcome the presumptive remedy of

vacatur — a point made even more clear in light of the fact that ConocoPhillips has not

made a final investment decision. 180 In sum, the default remedy of vacatur is warranted.

                                      CONCLUSION

       This Court should grant SILA’s Motion for Summary Judgment, and vacate the

ROD, final SEIS, BiOp, and all decisions that rely on these documents, including the

right-of-way, any permits to drill, and the material sales contract.



       Respectfully submitted,

                                           s/ Bridget Psarianos
                                           Bridget Psarianos (AK Bar No. 1705025)
                                           Suzanne Bostrom (AK Bar No. 1011068)
                                           Brook Brisson (AK Bar No. 0905013)
                                           TRUSTEES FOR ALASKA

                                           Attorneys for Plaintiffs




       179
          Defs.’ Mem. in Opp’n to Pls.’ Mots. for Prelim. Inj. at 43, ECF No. 43.
       180
          Mem. in Supp. of Pls.’ Mot. for Temp. Restraining Order and Prelim. Inj. Exs.
6 at 1 (ECF No. 23-18) & 8 at 1 (ECF No. 23-20); see, e.g., Nat’l Family Farm Coal.,
960 F.3d at 1144–45 (vacating despite financial impacts to farmers); Ctr for Biological
Diversity v. U.S. BLM, 2023 U.S. Dist. LEXIS 97282 (D. Idaho June 2, 2023) (rejecting
economic arguments and noting that if economic harm could overcome vacatur,
permittees would be incentivized to invest heavily upfront).

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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Local Civil Rule 7.4(a)(3), I certify that this brief complies with the
type-volume limitation of Local Civil Rule 7.4(a)(1) because it contains 9,992 words,
excluding the parts of the brief exempted by Local Civil Rule. 7.4(a)(4).


                                                     s/ Bridget Psarianos
                                                     Bridget Psarianos




                             CERTIFICATE OF SERVICE

       I certify that on July 26, 2023, I caused a copy of the PLAINTIFFS’ OPENING
BRIEF FOR SUMMARY JUDGMENT to be electronically filed with the Clerk of the
Court for the U.S. District Court of Alaska using the CM/ECF system.



                                                     s/ Bridget Psarianos
                                                     Bridget Psarianos




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